                        Case: 17-1118     Document: 3      Page: 1            Filed: 11/04/2016

FORM 9. Certificate of Interest                                                                             Form9
                                                                                                          Rev. 03/16

       UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT
        Oracle America, Inc.                          v.        Google Inc.


                                   Case No. 17-1118

                                        CERTIFICATE OF INTEREST
Counsel for the:
D (petitioner) Ill (appellant) D (respondent) D (appellee) D (amicus)D (name of party)

 Oracle America, Inc.

certifies the following (use "None" if applicable; use extra sheets if necessary):

                                    2. Name of Real Party in interest                3. Parent corporations and
       1. Full Name of Party        (Please only include any real party                publicly held companies
        Represented by me           in interest NOT identified in                     that own 10 % or more of
                                    Question 3) represented by me is:                     stock in the party

Oracle America, Inc.                None                                           Oracle Corporation




4. The names of all law firms and the partners or associates that appeared for the party or amicus
now represented by me in the trial court or agency or are expected to appear in this court (and who
have not or will not enter an appearance in this case) are:



See Attachment A .


         November 4, 2016
                                                            Isl E. Joshua Rosenkranz

                            Date                                              Signature of counsel

Please Note: All questions must be answered                 E. Joshua Rosenkranz
                                                                          Printed name of counsel
 cc:    Counsel of Record


                                             I   Reset fields
                                                                   I
          Case: 17-1118     Document: 3   Page: 2   Filed: 11/04/2016




                               ATTACHMENT A

     4.    The following law firms and partners or associates appeared

for Oracle America, Inc. in the Northern District of California or are

expected to appear in this Court (and have not or will not enter an

appearance in this case):

     ORRICK, HERRINGTON & SUTCLIFFE LLP

     Alyssa M. Caridis
     Jeffrey L. Cox
     Michelle OMeara Cousineau
     Kelly M. Daley
     Vickie Feeman
     Melinda Haag
     Karen G. Johnson-McKewan
     Ayanna Lewis-Gruss
     Randall S. Luskey
     Elizabeth C. McBride (no longer with firm)
     Denise M. Mingrone
     Geoffrey G. Moss
     Gabriel M. Ramsey
     Nathan D. Shaffer
     Robert P. Varian
     Christina M. Von Der Ahe

     KIRKLAND & ELLIS LLP

     Susan Davies
     Sean Fernandes
     Diana M. Torres
    Case: 17-1118   Document: 3   Page: 3    Filed: 11/04/2016




MORRISON & FOERSTER LLP

Ruchika Agrawal (no longer with firm)
Richard S. Ballinger (no longer with firm)
Michael A. Jacobs
Rudolph Kim
Kenneth A. Kuwayti
Daniel P. Muino
Marc David Peters
Roman A. Swoopes (no longer with firm)
Yuka Teraguchi
Mark E. Ungerman (no longer with firm)

Boies, Schiller & Flexner LLP

David Boies
Meredith R. Dearborn
Steven C. Holtzman
William F. Norton, Jr.
Beko Osiris Ra Reblitz-Richardson
Alanna Rutherford
